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                                   8                                 UNITED STATES DISTRICT COURT
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                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12    IN RE ANTHEM, INC. DATA BREACH                      Case No. 15-MD-02617-LHK
Northern District of California
 United States District Court




                                        LITIGATION
                                  13                                                        ORDER RE: NOTICE PROPOSAL
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                                  18          In April 2018, the parties amended their Settlement Agreement. See ECF No. 1007-2.

                                  19   “[T]he parties have agreed and recommend that the approximately 400 individuals who opted out

                                  20   of the Settlement Class be given the opportunity to rejoin the Settlement Class and enjoy the

                                  21   benefits of the enhanced Settlement.” ECF No. 1007 at 11. Objector Adam Schulman suggests

                                  22   “that corrective website notice and a reopening of the claims process is appropriate.” ECF No.

                                  23   976 at 4.

                                  24          By June 14, 2018 at 9:30 a.m., the parties and objector Adam Schulman are ordered to file

                                  25   a joint statement laying out their proposals, should the Court choose to adopt them, for (1)

                                  26   contacting individuals who have excluded themselves from the Settlement Class and providing an

                                  27   opportunity to rejoin the Settlement Class and (2) posting website notice and reopening the claims

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                                       Case No. 15-MD-02617-LHK
                                       ORDER RE: NOTICE PROPOSAL
                                   1   process to allow additional Settlement Class Members to submit claims. The joint statement

                                   2   should include proposed language for the two forms of notice and the deadline by which these

                                   3   individuals must respond.

                                   4          The parties and objector Adam Schulman shall also email a Word version of their joint

                                   5   statement to the Courtroom Deputy by the June 14, 2018 at 9:30 a.m. deadline.

                                   6   IT IS SO ORDERED.

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                                   8   Dated: June 12, 2018

                                   9                                                 ______________________________________
                                                                                     LUCY H. KOH
                                  10                                                 United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 15-MD-02617-LHK
                                       ORDER RE: NOTICE PROPOSAL
